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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

 PHILIP R. MCHUGH,                              )
                                                )
                                                )   Case No. 1:21-cv-00238
                                                )
                 Plaintiff,                     )   Honorable Michael R. Barrett
                                                )
 v.                                             )
                                                )
 FIFTH THIRD BANCORP, ET AL.,
                                                )
                 Defendants.                    )


NON-PARTY RHR INTERNATIONAL LLP’S MOTION FOR LEAVE TO FILE A SUR-
REPLY IN RESPONSE TO PLAINTIFF PHILIP R. MCHUGH’S REPLY IN SUPPORT
       OF HIS MOTION TO COMPEL PRODUCTION OF DOCUMENTS

         Pursuant to the United States District Court for the Southern District of Ohio’s Local Rule

7.2(a)(2), non-party RHR International LLP (“RHR”), a Delaware limited liability partnership

located at 233 South Wacker Drive, Suite 9500, Chicago, Illinois, by and through its undersigned

counsel, hereby moves this Court for leave to file a sur-reply in response to Plaintiff Philip R.

McHugh’s Reply in Support of his Motion to Compel Production of Documents (the “Reply” and

“Motion to Compel,” respectively). This motion is supported by the attached memorandum in

support. A copy of RHR’s proposed sur-reply is attached hereto as Exhibit A.

Dated:    May 31, 2024                                Respectfully submitted,

                                                      By: /s/ Nicole C. Mueller
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                                         Attorneys for Defendant
                                         RHR INTERNATIONAL LLP




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Court via the Court’s CM/ECF system on May 31, 2024, which will serve all

counsel of record.


                                           By:    /s/ Nicole C. Mueller
                                                  Nicole C. Mueller
